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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                               Judge William J. Martínez

Date:                March 18, 2022
Deputy Clerk:        Heidi L. Guerra
Court Reporter:      Mary George
Law Clerks:          Susan Jacoby and Cooper Alison-Mayne



 Criminal Action No. 1:19-cr-00257-WJM-1                  Counsel:

 UNITED STATES OF AMERICA,                                Aaron M. Teitelbaum
                                                          Valeria N. Spencer

        Plaintiff,

 v.

 ERIC KING,                                               Lauren Christelle Regan
                                                          Sarah Ann Alvarez
                                                          Sarah C. Freeman
        Defendant.


                                  COURTROOM MINUTES


Jury Trial, Day 5

8:46 a.m.      Court in session.

All counsel, defendant, and case agent are present in the courtroom.

8:46 a.m. Jury present.

ORDERED: Lunches are to be provided to the jury beginning March 18, 2022 and for
the duration of deliberation.

8:48 p.m. Jury is escorted to the jury deliberation room by the bailiff to continue
deliberations.

Counsel is to stay within 10 minutes of the courthouse.

8:49 a.m.      Court in recess.
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2:13 p.m.     Court in session.

All counsel, defendant, and case agent are present in the courtroom.

Parties discussed Allen charge models and agreed on Allen charge model 2.

2:17 p.m. Jury present.

Jurors read Allen charge model 2.

2:21 p.m. Jury is escorted to the jury deliberation room by the bailiff to continue
deliberations.

2:22 p.m.     Court in recess.
5:31 p.m.     Court in session. Jury not present.

All counsel, defendant, and case agent are present in the courtroom.

Parties discussed jurors’ question.

The Court prepares a response to the question with input from counsel; response is
given to the jury.

5:42 p.m.     Court in recess.
6:01 p.m.     Court in session. Jury not present.

6:02 p.m. Jury present.

Verdict tendered to the Court. Court reads verdict.

Jury finds the defendant not guilty as to Count 1 of the Indictment.

6:07 p.m. Jury is discharged.

ORDERED: Defendant is remanded to the custody of the United States Marshal.

6:08 p.m.     Court is adjourned and trial is concluded.

Total time in court: 30 minutes
